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Rhonda Hudson
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New York, NY 10150

To: The Honorable Laurie Selber Silverstein-The Chief Judge.

The Honorable Karen B. Owens-U.S. Bankruptcy Judge

USBC District of Delaware
824 Market Street

Wilmington, DE 19801

24 Hour fitness Worldwide Inc., et al, Case # 20-11558

Debtor

Rhonda Hudson

Creditor Claims #9404, 24973, 27128
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United States Bankruptcy Court for the District of Delaware
Case No. 20-11568
Proof of claims 9404, 24973, and 27128

CREDITOR RHONDA HUDSON’S

(1) FINDINGS AND RESPONSES TO RS FIT NW LLC. 24 HOUR FITNESS WORLDWIDE’S ET.
ALS.
RESPONSE TO CREDITOR RHONDA HUDSON'S MOTION FOR SUMMARY JUDGEMENT
AND
DECLARATIONOF KATIE HEALON

(2) REQUEST TO CONTINUE TO ALLOW PROOF OF CLAIMS 9404, 24973, 27128, AND
MOTION FOR SUMMARY JUDGEMENT

CREDITOR RHONDA HUDSON’S SUMMARY OF DEBTOR RS FIT NW LLC.’S REPONSE
TO REQUEST OF SUMMARY JUDGEMENT

The response from debtor RS FIT NW LLC. in essence says that Ms. Hudson is not owed
money for earnings because she did not qualify for, Split Shift pay, Spread of Hours pay, or
commissions as claimed. Thus, we paid her appropriately and did not mistreat her. Therefore,
she was not discriminated against. Furthermore, her claim for discrimination was not filed in a
timely manner so it should be barred and all of her claims should be dismissed and expunged.

Response from Creditor Rhonda Hudson

Clarity on New York Split Shift Mandate, Spread of Hours, and 10 Hour Rule’.

The New York Split Shift Mandate alone does not require more than 10 hours to be worked in a
single day and “no meal period of one hour or less shall be considered an interruption of
consecutive hours”.

The New York Spread of Hours Rule requires the more than 10 hours be worked in a single
workday and those 10 hours will include breaks, meal breaks, and time between shifts.

The New York 10 hour rule applies when more than 10 consecutive hours have been worked.
The New York split shift, spread of hours, and 10 hour rule all require an additional hours pay.
These rules are separate from and do not interfere with the weekly overtime rule.

Shift Defined- Hours worked consecutively.

Workday Defined - Hours worked in a single day.
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Split Shift premiums were not paid to creditor Rhonda Hudson as required by law. After
multiple communications to the debtor, 24 Hour Fitness, by creditor Rhonda Hudson- the
debtor eventually gave some additional pay to creditor Rhonda Hudson and identified it as split
shift premium. However, that pay was not close to the amount actually owed therefore not paid
in accordance with the law. See the paystub showing the extremely low amount of premium
pay identified as Split Shift payment at the Year to date as compared to the amount it should
have beep. based.on the year to date, the Split Shift and Spread of Hours requirement in
Exhibit P Zz" 2 . Ayear to date amount of $60.00 for Split Shift payments suggest that
creditor Rhorida Hudson worked less than 4 Split Shift qualifying workdays from January
through August, and that was not the case. Her work schedule required no less than 4
qualifying Split Shift and Spread of Hours days out of the 6 consecutive workdays she was
scheduled to work every 7 days.

The New York split shift mandate, although not exclusively, often applies in situations where
consecutive regularly scheduled shifts expand over the course of two workdays days causing a
split between the time that working hours begin and end during a single workday. Thereby
creating multiple shifts in a workday. This situation is often seen in consecutive overnight shifts
and was the situation for creditor Rhonda Hudson. Creditor Rhonda Hudson’s regularly
scheduled work week required that four of the_six consecutive workdays she worked fell into
the categories of a Split Shift. See Exhibit eS The Spread of Hours Rule also applied
to these scheduled four workdays. Ms. Hudson was hired as Service Representative-Night, not
a Service Representative as claimed in debtor RS NW FIT LLC.’s reply and the declaration of
Katie Healon. Ms. Hudson worked in the night position for the 11 plus years that she was
employed with 24 Hour Fitness. During the last several months of her employment with the
debtor( after the acceptance of her complaint to the D.O.E. regarding not being paid for Split
Shift earnings or appropriately) the title of her position was changed to Service Expert Night.
This change in title was in order with a company wide change of titles but did not change Ms.
Hudson’s expanded work responsibilities. Additionally, over the years of her employment it was
not uncommon for Ms. Hudson’s shifts to be extended for more than ten consecutive hours
due to other employees being late, needing to leave early, or not showing up for work at all.

Hence, the investigation by the Department of Labor outlined in claim 9404. See proof of claim
9404

The New York Spread of Hours Rule applies because more than ten hours of work
occurred between the hour that creditor Rhonda Hudson’s work began and the hour of work
that work ended on a workday since those hours must include breaks, meal breaks, and time
off between working hours ( shifts ) in a single workday. Creditor Rhonda Hudson’s work
schedule created two shifts for four of the six consecutive workdays per 7days she worked.
See Exhibit Again, the New York Spread Of Hours Rule requires that the ten hour
requirement calculation include any off duty time, meal breaks, and time between shifts on the
same workday (calendar day). The Spread Of Hours Law often shares some characteristics of a
Split Shift as it is a part of the Split Shift Mandate. The Spread of Hours Rule grants an
additional hour of pay at the prevailing state or local minimum wage (whichever is higher).
Manhattan’s minimum wage has historically been higher than the New York State minimum
wage and was throughout the time of Ms. Hudson’s employment with 24 hour Fitness. The
Split Shift rule and the 10 Hour rule requires an addition hours pay. Creditor Rhonda Hudson’s
location of employment was 225 5th Avenue New York, N.Y. 10010 (Manhattan).

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Rhonda Hudson’s position with the company was Service Representative-Night (later
called Service Expert Night),

Creditor Rhonda Hudson’s Position with 24 Hour fitness was Service Representative- Night not
Service Representative as claimed in the response from RS FIT NW LLC., and in the
declaration of Katie Healon. See Exhibit . Differences between the Service
Representative Night position and the Service Representative position are significant because
of the hours of the different shifts, rates of pay, responsibilities, and their general relationship to
the Split Shift and Spread of hours rules. The Service Representative Night position is a higher
paying position than Service Representative and the scheduled hours for the Service
Representative Night position required scheduled consecutive hours over the course of two
days. Thereby frequently creating regular ongoing Split Shift situations unlike the typical
Service Representative position. See Exhibit __¢ . These differences greatly affect the
relationship to the New York State Split Shift mandate and the ‘Spread of Hours Law. Ms.
Hudson’s position of Service Representative-Night (later called Service Expert Night) carried a
schedule of 10pm until 6am for five consecutive nights and 6 consecutive days. Four of those
scheduled workdays fell into the Split Shift category regardless of whether or not she was
required to work longer than her scheduled hours. Also, those four days that fell under the Split
Shiftinandate also qualified for the New York Spread of Hours Rule. See Exhibit

B .For a short period of time just before 24 Hour Fitness filed bankruptcy, a
company-wide change was made in position titles, and this is when Ms.Hudson’s title was
changed from Service Representative Night to Service Expert Night. However, her hours,
responsibilities, and duties did not change.

Ms. Hudson states. “My weekly schedule consi of 5 consecutive nights and six
consecutive workdays per week. See Exhibit The hours were scheduled to begin
at 10pm and end at 6 am the following day. Also, | typically started before 10pm and for the
most part rarely finished by 6 am. The Spread of Hours Rule and Split Shift Rule applied to my
scheduled 4 workdays days when | worked multiple shifts in a workday. The 10 Hour rule
applied to days when | worked more than 10 consecutive hours in a single workday. See
Exhibit Fs

Regarding Claim 27128 for discrimination. Claim 27128 should not be barred by date,
dismissed or expunged as requested by the debtor. First, creditor Rhonda Hudson does not
concede that proof of claim 27128 was not entered in a timely manner that can be acceptable
to the court. Second, proof of claim 27128 should be allowed because of extenuating
circumstances. Because of the severe Covid 19 pandemic that was happening in New York
City during the time in question the filing of proof of claim 27128 was delayed. Creditor Rhonda
Hudson was residing in New York City at the time and continues to do so. In New York City at
that time- activity across the area either stopped or significantly slowed, for an extended period
of time and during the time in question. Furthermore, a mandated quarantine throughout the
area and for many including herself was in effect. During this time services, transportation,
mail, printing, and more in the area either stopped or slowed tremendously. Ms. Hudson says
that “the Covid 19 Pandemic affected me and my ability to file claim 27128 earlier”. This alone
is good reason to continue to allow Claim #27128. Additionally, personal tragedy- Ms.
Hudson’s mother was dying at the time and has since passed. Also, the claim is something of
an extension of the first claim filed, and its substance is important and valuable. For these
reason and more the claim should continue to be allowed.

Moreover, it is believed that RS FIT NW LLC’S response and the deposition of Katie Healon in
response to Ms. Hudson’s request for Summary Judgement and objection to proof of claims
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contains material information that further shows discrimination against her, and may be
submitted as evidence of such. The continued denial of wages earned for no acceptable
reason is believed to be a display of continued discrimination and hate with the intent to harm
by causing financial impediment. Thereby giving further reason to continue to accept claims
27128, 9404, and 24973. See Exhibits A,B, C, and D.

Regarding Creditor Rhonda Hudson being entitled to commissions, split shift premiums,
and spread of hours pay-

Ms. Hudson says “I sold a large amount of memberships as a Service Representative-Night
employee-so much so that a club Operations Manager requested that | begin to use my
employee number when selling in order to get credit/commission for those sales. This request
came well before a company-wide change in the sales system that occurred several months
before the company’s filing for chapter 11 bankruptcy protection. | was informed that receiving
commissions on my sales may be an option for me even in my Service Representative-Night
position by my operations manager. Unlike the position of a service representative, during my
working hours no other 24 Hours Fitness staff was scheduled to be on duty or was on duty.
Thus, my sales, service, and management work was welcomed and encouraged by
management over the many years that | worked. This is one of the reasons that | do believe |
should have been paid the commissions | earned. Also, the Split Shift, Spread of hours
premiums, and 10 Hour Rule premiums should have been paid each time | earned them as
required by law and they were not.

The debtors response to Ms. Hudson’s request for summary judgement and request for the
dismissal of claims 9404, 24973, and 27128 by RS FIT NWLLC may be submitted as further
evidence from creditor Rhonda Hudson as discrimination and other violations outlined in the
request for summary judgement and her proof of claims. As Ms. Hudson’s claims are sound as
evidence has shown and can show. See Exhibits A,B, and C.

Regarding 24 Hour Fitness worldwide attempting to reach settlement with Ms.Hudson.

24 Hour Fitness Worldwide / RS FIT NW LLC’s. et.al first contacted creditor Rhonda Hudson
via their attorney’s during the winter of 2023 and a few other times since then regarding a
possible settlement. All of the offers were predicated with if the company agrees, but no
guarantees. The first offer was for $1000, the second was for $2000, and the third was for
approximately $15,000 ( an amount closer to a priority claim which is intended to be a partial
payment of wages for relief until full payment can be made. It is believed that a priority claim
(partial) offer should have been made more than two years ago). There has yet to be a
reasonable settlement offer made considering the situation. Therefore, it is believed that no
good faith attempt to settle the subject claims has been made by debtor RS FIT NW LLC. As
claimed by the debtors.

Regarding Employers Fiduciary Duty
Prudence is a duty that employers owe employees and it is also a fiduciary duty. Furthermore,

by not paying Ms. Hudson as required by law prudence was not given to creditor Rhonda
Hudson as it should have been. Generally speaking, in a number of circumstances it has been
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found that employers do not owe employees fiduciary duties. However, prudence should not
be and is not one of those duties that is acceptable for employers to forgo particularly with
regard to employee pay. Rather, employers do owe prudence to their employees especially
regarding payment of their wages. Again, prudence is a fiduciary duty. Thus, RS FIT NW LLC. /
24 Hour Fitness Worldwide et.al did have a duty to pay me properly and on-time with correct
amounts deducted. It is also believed that they should have provided safety training (| worked
alone overnight, and there should have been self defense training), to provide a safe work
place (I was threatened multiple times by individual members that were not removed from the
club), and being treated with a sense of dignity and equality while respecting at least a
minimum of privacy. Creditor Rhonda Hudson says ‘in these ways | believe 24 hour fitness
failed”.

Regarding Declaration of Katie Healon.

The declaration of Ms. Katie Healon is not correct nor are pertinent conclusions in it. First,
creditor Rhonda Hudson’s position was Service Representative-Night, not Service
Representative. The difference in the hours worked between the two positions generally are
significant in relation to the New York Split Shift, and Spread of Hours. There was also a pay
differential between these two positions. Ms. Healon’s claim that creditor Rhonda Hudson only
worked 8 hour shifts in her workday is inaccurate as shown by the sample copy of creditor
Rhonda Hudson’s time sheet. Creditor Rhonda Hudson also worked 6 and 2 hour shifts on four
of her six scheduled workdays per week. See exhibify ¢ . According to both the
company and New York states definition of Split Shift. Katie Healon’s claim that the Spread of
Hours rule requires that an employee must work 10 hours in a single shift is contrary to New
the York State Spread Of Hours Rule. See Exhibit Zp . Rather, the New York Spread of
Hours Rule addresses multiple shifts (of various hours) during the course of one workday, and
how those hours are calculated to arrive at the 10 hour minimum requirement. Unlike the New
York Spread of Hours Rule, the New York 10 hour rule applies to working 10 consecutive hours
or more in a single shift. Had creditor Rhonda Hudson’s scheduled shifts been every other day
or had she held a position of Service Representative with consecutively scheduled workdays
then - generally, Ms. Healon’s claims would apply. However, Ms. Hudson’s position was
Service Representative-Night and she worked for six consecutive workdays per week thereby
placing 4 of the 6 scheduled workdays into the category of split shift according to New York
State law and company policy. Creditor Rhonda Hudson’s work schedule also caused those
same workdays to je ae the category of Spread of Hours according to New York State
Law. See Exhibit Ms. Healon’s claims that creditor Hudson did not qualify for the
Split Shift, or Spread of Hours rule are not correct according to New York State Law.
Furthermore, when creditor Rhonda Hudson worked for more than 10 consecutive hours in a
single workday she ae . additional pay according to the 10 Hour rule. These findings
are obvious. See Exhibit é Moreover, creditor Rhonda Hudson’s Exhibits

and employment file (which has not been received from debtor RS FIT NW LLC./
24 Hour Fitness despite multiple requests and a subpoena signed by the court for the
employment file) further confirm creditor Rhonda Hudson’s claims. The timesheet sample in
Exhibit B is an actual copy of one of creditor Rhonda Hudson's timesheets on that
particular day. Thus, Ms. Healon’s claim that debtor 24 Hour Fitness’s policy on Spilt Shift
premiums was compliant with New York State law is not reflected in debtor 24 Hour Fitness’s
treatment of creditor Rhonda Hudson’s pay, and neither was the New York Spread of Hours
Rule or the 10 Hour Rule.

’
In light of the New York Split Shift mandate, the Spread of Hours Rule, See exhibit A 2 Bb
and employment records for Rhonda Hudson (many of which 24 Hour Fitness is believed to be
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in possession of) it is believed that the response from RS FIT NW LLC. / 24 Hour Fitness
Worldwide et.al to creditor Rhonda Hudson’s motion for summary judgement is disingenuous.
Moreover, it does not appear to show a true reason acceptable to a court for not paying Ms.
Hudson as required and reasonably expected. It is believed that the responses from RS FIT
NW LLC. are decidedly distracting, misguiding, and distort the actual overall situation of the
subject claims regarding this case-and all in an attempt to not pay creditor Rhonda Hudson
properly. It is believed that these continued actions display malice, unlawful discrimination,
hate, and the intent to harm by impeding much needed pay.

Creditor Rhonda Hudson believes that her employment file from 24 Hour Fitness can further
support her claims. However, despite her multiple requests for her employment files from RS
NW LLC./ 24 Hour Fitness Worldwide, et.al the debtors have yet to provide them.

Debtor RS FIT NW LLC. did not file an Adversary Procedure or dispute creditor Rnonda
Hudson’s subject claims filed in 2020 at any time prior to her motion for summary judgement in
2023. Rather, unreasonable attempts to get creditor Rhonda Hudson to drop her claims were
made by the debtor through what the debtor described as attempts at settlement in their
response to creditor Rhonda Hudson’s motion for a summary judgement.

Thus, it was reasonable for creditor Rhonda Hudson to believe there was and is no justifiable
objection to her claims and request for summary judgement. Moreover, since debtor RS FIT
NW LLC made no objection to Ms. Hudson’s claims prior to the creditor Hudson’s request for
summary judgement and because debtor RS FIT NW LLC. / 24 Hour Fitness Worldwide, et.al
has creditor Rhonda Hudson’s employment file which is presumed to contain confirming
information for Ms. Rhonda Hudson’s claims-there should be no substantive objection to them.

Regarding Debtors response regarding False Pretenses, False representation, Fraud
while Acting In A Fiduciary Duty, and Actual Fraud, and Willful And Malicious Injury

The intent of these claims is to remove bankruptcy protections for the subject proof of claims,
and to have the claims paid in full. An example of this situation may be as in the case of an
adversary procedure. Additionally, it is plain to see that to impede substantial pay earned is
harmful and intended to be so. Particularly after the need for the pay has been expressed
multiple times.

Additionally, it may be argued that the debtors classification of the subject claims, 9404,
27128, and 24973 as unsecured claims is debatable because the matters of creditor Rhonda
Hudson’s proof of claims arose before the filing of chapter 11 bankruptcy. And, creditor
Rhonda Hudson was a part of the 24 Hour Fitness organization as an employee.

Therefore, without any truthful, valid, good faith effort, or worthy reason to grant the debtors
request to dismiss and expunge creditor Hudson's claims-it is only fitting that RS FIT NW
LLC.’s et.al objections to proof of claims 9404, 24973, and 27128 along with their request that
those claims be dismissed and expunged; be dismissed and or denied.

Moreover, it is fitting that claims 9404, 24973, and 27128 continue to be allowed. Moreover,
the motion for summary judgement in this case be allowed.
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(2)

Because no truthful, credible, valid, good faith effort, or worthy reason for the dismissal or
expungement of creditor Rhonda Hudson’s claims 9404, 24973, and 27128 has been
presented and because the validity and importance of these claims are paramount to the
cornerstones of employment in the United States of America, and outweigh any possible
excuse to dismiss or expunge them, these claims should be allowed. As the evidence has
shown-these claims are good, just, and proper.

Therefore, creditor Rhonda Hudson prays the court will continue to allow these claims.
Moreover, the belief continues to be that the debtor’s bankruptcy protections in these claim
should not apply because of RS FIT NW LLC’s / 24 Hour Fitness Worldwide’s unjustifiable
actions toward creditor Rhonda Hudson- as evidence has shown. Furthermore, It is still
believed that the debtor has shown: False Pretenses, False Representations, or actual Fraud,
Fraud While Acting In A Fiduciary Capacity, and Willful and Malicious Injury, thereby disallowing
bankruptcy protections for the debtor RS NW FIT LLC, et.al with regard to claims 9404, 24973,
and 27128.

Creditor Rhonda Hudson wishes to reserve the right to submit further evidence as and if
needed and awaits her requested employment file from 24 Hour Fitness for further supporting
evidence.

It is believed that the debtors actions toward creditor Rhonda Hudson violate the civil rights act
of 1964 (Pub. L. 88-352 78 Stat. 24 , enacted July 2, 1964). Illegal discrimination in the
workplace is a serious matter and has an unfortunate long history in the United States that
must not be excused and allowed to continue. Creditor Rhonda Hudson says, “I recently
learned that in 2019 a police officer in Clayton Missouri was awarded $20 Million dollars for
being discriminated against by his employer, and since the verdict the employer’s leadership
has committed to stamping out bias and made several changes within the organization. And,
as a result the employer is seeing improvements. So verdicts in cases of mistreatment/
discrimination are important. They have an important meaningful effect on society and can
make way for a better more just one. Verdicts have a strong hand in stamping out the stench of
illegal discrimination and can begin to repair some of the damage discrimination causes.”

Conclusion

Wherefore, creditor Rhonda Hudson in an attempt to help right the wrongs imposed by the
debtor against creditor Rhonda Hudson she looks to the Court, prays, and respectfully request
that the Court deny and or dismiss debtor, RS FIT NW LLC. / 24 Hour Fitness Worldwide et.al
objection to creditor Rhonda Hudson’s claims in its entirety, and allow creditor Rhonda
Hudson’s claims and motion for Summary judgement to stand in their entireties. And in doing
so grant the full amount of creditor Rhonda Hudson’s three claims 9404, 24973, and 27128
along with appropriate punitive and other damages as the Court see’s fit.
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Respectfully Submitted,

Rind brdcsa

Rhonda Hudson
ProSe
Case 20-11568-KBO Doc 809 Filed 11/07/23 Page 10 of 44

Exhibit A
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Regs. Tit. 12 8 142-2.17 -
Split shift

State Regulations Compare

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Exhibit B
Time

TIMECARD SCHEDULE

Your Timecard

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Your Manager approved on SEP 30, 2019

Week 1
SEP 14 - SEP 20

Week 2
SEP 21 - SEP 27

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tod The “Spread (HM Hours’ Law

Deductions

Transit Pretax

_ Statutory
Federal Income Tax -126 .39
Social Security Tax -65 .31
Medicare Tax -15 -28
NY. State Income Tax -34 .62
NY SUISDI Tax -1 20
NY Paid Family Leave Ins 1.84
Other
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Hyatt Legal -10 .45
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Pretax Ghp Hith -80 .87"
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+ Excluded from federal taxable ‘wages

FITNESS

24 HOUR FITNESS USA, INC
12647 ALCOSTA BLVD SUITE 500

SAN RAMON, CA 94583 688-439-6924 —

Deposited to the account of

RHONDA HUDSON ~

Earnings Statement $59

Period Beginning: 02/16/2019
Period Ending: 03/01/2019
Pay Date: 03/08/2019

Other Benefits sand:
‘Information _ ie
Sick Time

RHONDA HUDSON
909 THIRD AVENUE #7912
NEW YORK NY 10150

Your federal ee wages, this ec are j
$1,053.36

Vacation Time ©
Total Work Hrs

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Note to financial institutions: This electronic representation of Rhonda Hudsons a check was rovided from 24 a uit Fitness usa, Ar
Payroll WorkGenter system on 1/4/2019, "i y y ae p ee

1265 Laurel Tree Lane Ste 200
Carlsbad CA 82011-

ADVICE ees

Employee
RHONDA HUDSON a

Code
| 24HOUR4S

Earnings

Regular Pay

Bonus - Holiday Pay —
OT Recale Weekly
Overtime Premium
Total a

Taxes
Federal Income Tek!

Social Security (FICA)
Federal Medicare —

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Exhibit C
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08/30/23

Hello,

My name is Jack Willis and | worked for 24hr Fitness Madison Sq Park from 2009-
2018(?). During that time, | was a personal trainer for 2 years and the Fitness Manager
the remaining time. Before | even started Rhonda was the overnight employee. As any
employer knows it is hard to find a reliable person to even show up consistently but to
do a good job. Because of this, Rhonda was literally the only overnight person for
several years. She was one of maybe 3 overnight people throughout my time. | would
see her occasionally when | left but almost every day when | got to work in the morning.
The fact that this is debatable is silly. She was also the Night Service representative.
From what ! would guess the overnight hours were something around 915/930pm to
6/7am. Please let me know how | can be of any further assistance.

All the best,
Jack Willis
7¥7-B76-3223

aes Thomas G. Mai
a Notary Public - State of Naw York
No. O1MES222532
Qualified in Queens County
My Commission Expires September OF 2026

STATE OF HY COUNTY OF QUEENS
SUBSCRIBED AND SWORR BEFORE ME
THIS 30 DAY OF Any , 223

HOTARY PUBLIC 77> ——

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AFFIDAVIT

|, Dare Matthews, of Tarrant County, Texas, swear that | use to live in NYC at
which time | worked out at 24 Hr. Fitness in the Flatiron District on a nightly basis
from 2009 through 2014. Rhonda Hudson was a regular employee at this
location on a full-time basis for the night shift. | interacted with Rhonda ona
regular basis. | considered Rhonda my friend and mother figure during the whole
2009-2014. | was a young eighteen year-old starting college and really treasured
my nightly chats with Rhonda during these young years.

| confirm Rhonda Hudson was a devoted full-time employee of 24 Hour Fitness
during the timeframe that | worked out every night while living in Chelsea.

Dare Matthews is:

being duly sworn, deposes and affirm upon oath:

State of Texas ee TO AND SWORN BEFORE ME, THIS
County of Tarrant __~_Day of A oe. ZOE

By — Te
sou eee are Matthews

Seal

NOTARY PUBLIC

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AFFIDAVIT

|, Cynthia Matthews, of Tarrant County, Texas, swear that my daughter, Dare
Matthews, moved to NYC as a young 18 year old in 2009 reaching for a dream.
She was determined to get a college education and continue her body fitness
regimen. She rarely missed a single night in fulfilling her workout at 24 Hr. Fitness
which was located just a few blocks from her Chelsea apartment. She worked out
nightly 2009-2014 at which time she can confirm Rhonda Hudson was a full-time
night shift employee at this gym.

Rhonda Hudson became Dare’s main friend that she looked forward seeing on a
nightly basis. | joined Dare at 24 Hr. Fitness on numerous occasions to be able to
visit with Rhonda and then walk with Dare to her apartment. Rhonda was always
dependably at 24 Hr Fitness on a regular nighttime shift each and every time |
walked into the facility.

Dare and | are more than willing to give this information under oath and travel
back to NYC to testify on behalf of knowing Rhonda was devoted to 24 Hr Fitness
as a full-time night shift team member.

Cynthia Matthews is:

being duly sworn, deposes and affirm upon oath:

State of Texas SUBSCRIBED TO AND SWORN BEFORE ME, THIS

County of Tarrant £E Day of k& Lg Zo2zs

Coho Meztthous

Cynthia Matthews

SIGNATU

Seal
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Exhibit D
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

| Chapter 11
In re:
Case No. 20-11568 (KBO)
RS FIT NW LLC,

Reorganized Debtor.'

DECLARATION OF KATIE HEALON IN
SUPPORT OF REORGANIZED COMPANY’S (I) RESPONSE
TO MOTION FOR SUMMARY JUDGMENT AND (II) OBJECTION TO
PROOFS OF CLAIM NOS. 9404, 24973, AND 27128 FILED BY RHONDA HUDSON

Katie Healon makes this Declaration pursuant to 28 U.S.C. § 1746:

L, I am the Senior Director of Treasury and Pay Process of 24 Hour Fitness USA,
LLC, the successor to Debtor 24 Hour Fitness USA, Inc (the “Debtor”).

2 I submit this declaration (the “Declaration”) in support of the Reorganized
Company's (I) Response to Motion for Summary Judgment and (II) Objection to Proofs of Claim
Nos. 9404, 24973, and 27128 Filed by Rhonda Hudson (the “Qbjection”) in response to the Motion
for Summary Judgment [RS FIT Docket No. 781] (the “Motion”) filed by Rhonda Hudson (the
“Claimant’”).?

2D, All statements in this Declaration are based upon my personal knowledge, my

review (or the review of others under my supervision) of (a) business books and records kept by

The Reorganized Debtor in this chapter | 1 case, along with the last four digits of the Reorganized Debtor’s federal
tax identification number, as applicable, is RS FIT NW LLC (9372). By order dated March 16, 2021 [RS FIT
Docket No. 7], the remaining debtor affiliates’ (the “Reorganized Debtors”) chapter 11 cases were closed. The
Reorganized Debtors’ corporate headquarters and service address is 24 Hour Fitness USA, Inc., 1265 Laurel Tree
Lane, Carlsbad, CA 92011.

Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.

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the Debtors and the Reorganized Company in the ordinary course of business, and (b) the Motion
and the Hudson Claims.

4. From July 10, 2008 through June 11, 2020, Claimant was employed by the Debtor
as a service representative at one of the Debtor’s fitness clubs located in New York City (the
“Club”). During most of her tenure, Claimant worked an overnight shift from 10:00 p.m. to
6:00 a.m. In Claimant’s role as a service representative, Claimant worked at the front desk of the
Club where she facilitated the check-in process at the Club and responded to service-related issues.

a. Pursuant to the Debtor’s compensation policies, service representatives were not

entitled to earn commissions on the sale of Club memberships (the “Sales Commissions”). Sales

Commissions could only be earned by employees whose responsibilities included driving the sales
of the Debtor’s Club’s memberships with specific targeted sales goals and metrics. Claimant was
not entitled to Sales Commissions under the Debtor’s compensation policy as a service
representative because selling Club memberships was not one of her responsibilities as a service
representative. In addition, the Debtor’s Sales Commissions policy during most of the Claimant’s
employment required a minimum threshold hours and sales that needed to be fulfilled in order to
become entitled to Sales Commissions. Given Claimant’s role as a service representative,
Claimant could not have satisfied any of the threshold requirements even if Claimant was entitled
to Sales Commissions (which Claimant is not).

6. The Debtor’s internal split shift policy provided that an employee was entitled to
split shift pay under one of following two (or both) situations. First, if an employee’s shift in one

workday was split with a break in between that was equal to or greater than 61 minutes, an

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employee was entitled to split shift pay. Second, if an employee’s shift in a workday was split and
the total “spread of hours” of a single shift was more than 10 hours, an employee was entitled to
split shift pay. Claimant did not qualify for split shift pay under either of the situations. Claimant’s
shift did not include a break that was equal to or longer than 61 minutes and Claimant’s total
“spread of hours” was less than 10 hours. Claimant’s spread of hours was 8 hours since her shift
was from 10:00 p.m. to 6:00 a.m.

' The Debtor also maintained an internal compensation policy for employees when

one or more of its fitness clubs closed due to a disaster (the “Disaster Pay Policy”), such as a

snowstorm, and employees were unable to fulfill their hours. The Debtor’s Disaster Pay Policy
provided that employees were entitled to compensation if one or more clubs closed for an
“extended period of time” due to such disaster. Historically, the Debtor defined “extended period”
as a period greater than or equal to two days. Ifa fitness club was closed for a single day due to a
disaster, employees that lost their shifts would not be qualified for compensation under the Disaster
Pay Policy. To the extent that the basis of Claimant’s request for Disaster Pay Policy was the
closure of the Club for a single day on January 23, 2016, Claimant was not entitled to compensation

under the Disaster Pay Policy for that date.

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8.

Based on the foregoing, and to the best of my knowledge, information and belief,

the information contained in the Objection is true and accurate.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

Dated: August 21, 2023
Carlsbad, California

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By:

/s/ Katie Healon
Katie Healon

Senior Director of Treasury and Pay Process
24 Hour Fitness USA, LLC

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE
Chapter 11
In re:
Case No. 20-11568 (KBO)
RS FIT NW LLC,

Reorganized Debtor.'
Re: Docket No. 781

REORGANIZED COMPANY’S (I) RESPONSE TO
MOTION FOR SUMMARY JUDGMENT AND (II) OBJECTION TO
PROOFS OF CLAIM NOS. 9404, 24973, AND 27128 FILED BY RHONDA HUDSON

The above-captioned reorganized debtor in this chapter 11 case (the “Reorganized
Debtor”)’ and All Day Holdings LLC (together with the Reorganized Debtor, the “Reorganized
Company’) respectfully submit this reply and objection (this “Objection”) to the Motion for
Summary Judgment [RS FIT Docket No. 781]° (the “Motion”) filed by Rhonda Hudson (the
“Claimant’). In support of this Objection, the Reorganized Company seeks entry of the proposed
form of order attached hereto as Exhibit A, respectfully submits the Declaration of Katie Healon
in Support of Reorganized Company's (I) Response to Motion for Summary Judgment and
(II) Objection to Proofs of Claim Nos. 9404, 24973, and 27128 Filed by Rhonda Hudson (the

“Healon Declaration’’), attached hereto as Exhibit B, and states as follows:

The Reorganized Debtor in this chapter 11 case, along with the last four digits of the Reorganized Debtor’s federal
tax identification number, as applicable, is RS FIT NW LLC (9372). By order dated March 16, 2021 [RS FIT
Docket No. 7], the remaining debtor affiliates’ (the “Reorganized Debtors’) chapter 11 cases were closed. The
Reorganized Debtors’ corporate headquarters and service address is 24 Hour Fitness USA, Inc., 1265 Laurel Tree
Lane, Carlsbad, CA 92011.

* Capitalized terms used but not defined herein shall have the meanings set forth in the confirmed First Amended
Joint Chapter 11 Plan of 24 Hour Fitness Worldwide, Inc. and Its Affiliated Debtors [24 Hour Fitness Docket
No. 1508, Ex. A] (the “Plan”), attached as Exhibit A to the Order (I) Confirming First Amended Joint Chapter
II Plan of Reorganization of 24 Hour Fitness Worldwide, Inc. and Its Affiliated Debtors and (II) Granting
Related Relief [24 Hour Fitness Docket No. 1508] (the “Confirmation Order”),

3 Docket numbers refer to 24 Hour Fitness Worldwide, Inc. (20-11558 (KBO)) (“24 Hour Fitness”) and RS FIT
NW LLC (20-11568 (KBO)) (“RS FIT”).

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BACKGROUND

1. From July 10, 2008 to June 11, 2020, Rhonda Hudson (the “Claimant”) worked as
an employee at a fitness club located in New York City (the “Club”), owned and operated by 24
Hour Fitness USA, Inc. (the “Debtor” and together with its affiliated debtors in possession, the
“Debtors”.

Ds On June 15, 2020 (the “Petition Date”), the Debtors commenced voluntary cases
under title 11 of the United States Code (the “Bankruptcy Code”) with the United State Bankruptcy
Court for the District of Delaware (the “Court”) and were authorized to operate their businesses
and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of title
11 of the Bankruptcy Code.

a On August 24, 2020, the Court entered the Order (I) Establishing a General Bar
Date to File Proofs of Claim, (Il) Establishing a Bar Date to File Proofs of Claim by Governmental
Units, (III) Establishing a Bar Date to File Requests For Payment of Postpetition Administrative
Claims, (IV) Establishing an Amended Schedules Bar Date, (V) Establishing a Rejection Damages
Bar Date, (VI) Approving the Form and Manner for Filing Proofs of Claim, (VII) Approving the
Proposed Notice of Bar Dates, (VIII) Approving Procedures with Respect to Service of the
Proposed Notice of Bar Dates, and (IX) Granting Related Relief [24 Hour Fitness Docket No. 785]

(the “Bar Date Order”) which, among other things, established October 2, 2020 at 5:00 p.m.

(prevailing Eastern Time), as the deadline to file proofs of claim for persons or entities, not
including Governmental Units as defined in 101(27) of the Bankruptcy Code (the “General Bar

Date”’). In accordance with the Bar Date Order, the Debtors caused notice of the General Bar Date

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and proof of claim forms to be served on, among others, the Debtors’ known creditors and other
known parties in interest as of the Petition Date. (See Notice of Deadlines to File Proofs of Claim
and Requests for Payment of Administrative Claims [24 Hour Fitness Docket No. 839].)

4. On August 28, 2020, Claimant filed Proof of Claim No. 9404 asserting (i) a General
Unsecured Claim in the amount of $265,881.52, and (ii) a Priority Non-Tax Claim in the amount
of $13,650.00, for an aggregate amount of $279,531.52, on account of alleged accrued but unpaid
split shift pay throughout the course of Claimant’s employment with the Debtor (the “Split Shift
Claim”).

5, On October 1, 2020, Claimant filed Proof of Claim No. 24973 asserting (i) a
General Unsecured Claim in the amount of $283,728.96, and (ii) a Priority Non-Tax Claim in the
amount of $13,650.00, for an aggregate amount of $297,378.96, on account of alleged accrued but
unpaid commission from sales of the Club’s membership throughout the course of Claimant’s
employment with the Debtor and alleged unpaid compensation for the January 23, 2016 workday

when the Club was closed due to a snowstorm (the “Sales Commission Claim”).

6. On December 14, 2020, after the General Bar Date, Claimant filed Proof of Claim
No. 27128 that asserts a General Unsecured Claim in the amount of $8,000,000.00 on account of
damages for alleged discrimination based on sex, sexual orientation, race, and age (the
“Discrimination Claim” and, together with the Split Shift Claim and the Sales Commission Claim,

the “Hudson Claims”).

7. On December 30, 2020, all conditions precedent to consummation of the Plan of

Reorganization of the Debtors (the “Plan”) were either satisfied or waived in accordance with

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Article IX of the Plan, such that the Plan became effective on December 29, 2020, and as a result,
the Plan has been substantially consummated, as that term is defined by section 1101(2) of the
Bankruptcy Code. (See Notice of Effective Date, and Entry of Order (I) Confirming First Amended
Joint Chapter 11 Plan of Reorganization of 24 Hour Fitness Worldwide, Inc. and its Affiliated
Debtors and (I) Granting Related Relief [24 Hour Fitness Docket No. 1551] (“Notice of the
Effective Date”).)*

8. Since the Effective Date, and prior to the Claimant filing the Motion, the
Reorganized Company and its advisors worked with the Claimant to address and consensually
resolve the Hudson Claims. Unfortunately, these efforts have been unsuccessful, but the
Reorganized Company will continue to seek to resolve this matter if at all reasonably possible.

9. On August 7, 2023, Claimant filed the Motion asserting that the Debtor displayed
(i) false pretenses, false representations, or actual fraud; (ii) fraud while acting in a fiduciary
capacity; and (iii) willful malicious injury (collectively, the “Summary Judgment Claims”), and
requesting full payment of the Hudson Claims.

RESPONSE
Li THE MOTION FOR SUMMARY JUDGMENT IS PROCEDURALLY IMPROPER

10. Ina bankruptcy case, summary judgment is only proper in an adversary proceeding

under Rule 7056 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) when

“there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

* Pursuant to the Purchase Transaction (as defined in the Plan), Debtors 24 Hours Holdings II LLC, 24 Hour
Worldwide Inc., and 24 Hour Fitness United States, Inc. were dissolved after the Effective Date. (See Plan,
Ex. B.)

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matter of law.” Fed. R. Bankr. P. 7056; Official Comm. Of Unsecured Creditors of Champion
Enters. v. Credit Suisse (In re Champion Enters.), 2011 Bankr. LEXIS 3607, at *13—-14 (Bankr.
D. Del. Sept. 27, 2011) (stating that summary judgment under Rule 56(a) of the Federal Rules of
Civil Procedure is “made applicable to adversary proceedings by Federal Rule of Bankruptcy
Procedure 7056”).

11. Claimant has not commenced an adversary proceeding with respect to the Summary
Judgment Claims. Claimant has not filed a complaint, no discovery has taken place, and no facts
have been developed. Nor were the Summary Judgment Claims raised in the Hudson Proofs of
Claims. In the absence of any of the foregoing, the Motion is procedurally improper. Moreover,
prior to the filing of this Objection, there was no contested matter with respect to the Hudson
Claims. See 11 U.S.C. § 502(a) (“A claim or interest, proof of which is filed under section 501 of
this title, is deemed allowed, unless a party in interest... objects.”). Accordingly, there is no
procedural basis for Claimant to move forward with the Motion.

Il. THE MOTION PRESENTS NO FACTS IN SUPPORT OF THE SUMMARY
JUDGMENT CLAIMS

12. To the extent the Court treats the Motion as opening a contested matter pursuant to
Bankruptcy Rule 9014, the Motion fails to proffer any evidence in support of the Summary
Judgment Claims and must be denied.

A. False Pretenses

13. Without providing any underlying facts in support and only through baseless
assertions unsupported by any evidence, Claimant asserts the Debtor has displayed false pretenses.

Under New York law, false pretenses standing alone is not a crime nor a civil cause of action but

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“an evidentiary allegation of the means used to commit the crime.” See, e.g., People v. Farrugia,
41 A.D.2d 894, 894 (N.Y. App. Div. 1973) (citing N.Y. Penal Law § 155.45 for larceny). More
importantly, this Court does not have subject matter jurisdiction over criminal matters. See 28
U.S.C. § 1334(b) (“Except as provided in subsection (e)(2)...the district courts shall have
original but not exclusive jurisdiction of all civil proceedings arising under title 11, or arising in
or related to cases under title 11.”’); Arenas v. Inslee (In re Arenas), Adv. No. 19-01134, 2021 WL
5412681, at *4 (B.A.P. 9th Cir. Nov. 19, 2021) (unpublished decision) (holding that bankruptcy
courts lack jurisdiction over criminal matters).

B. False Representation, Fraud While Acting in Fiduciary Duty, and Actual
Fraud

14. Claimant’s assertion that the Debtor undertook a false representation and fraud
while acting in fiduciary capacity is similarly unsupported by any evidence. First, false
representation, standing alone, is not a cause of action under New York law. Passiglia v. Northwell
Health, Inc., 252 F. Supp. 3d 129, 139 (E.D.N.Y. 2017) (“Critically, a false representation does
not, without more, give rise to a right of action, either at law or in equity, in favor of the person to
whom it is addressed.”) (quoting Connaughton v. Chipotle Mexican Grill, Inc., 29 N.Y .3d 137,
142 (2017)). Second, with respect to a claim for fraud while acting in a fiduciary duty, employers
generally do not owe any fiduciary duties to their employees. Hyman v. Int’l Bus. Machs. Corp.,
2000 U.S. Dist. LEXIS 15136, at *11 (S.D.N.Y. Oct. 17, 2000) (dismissing a claim for negligent
misrepresentation brought by an employee against the employer because employers do not

employees a fiduciary duties); see also Reid v. Temple Univ. Hosp. Episcopal Campus, 2017 U.S.

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Dist. LEXIS 183814, at *15 (E.D. Pa. Nov. 6, 2017) (‘An employer generally does not owe
fiduciary duties to its employees.”’).

15. To the extent Claimant intends to assert common law fraud under New York law
against the Debtor for declining to pay the Claimant on account of the Hudson Claims, the
Claimant must show: (i) the Debtor’s misrepresentation (or omission) of material fact, (ii) made
for the purpose of inducing the other party to rely on it; (iii) justifiable reliance by the other; and
(iv) a resulting injury. See Giraffe G4 Sys., LLC v. Measurement, Ltd., 2018 U.S. Dist. LEXIS
62946, at *11-12 (S.D.N.Y. Apr. 13, 2018) (stating the elements for common law fraud under
New York law). None of these elements are satisfied as Claimant fails to offer any factual record
to support this claim. Claimant does not identify Debtor’s misrepresentation let alone her reliance
on such misrepresentation. As set forth in the Healon Declaration, Claimant was not entitled to
receive split shift premiums nor commission for sales of the Club’s membership. See Healon
Declaration §] 5-6.

C. Willful and Malicious Injury

16. | Under New York law, “willful and malicious injury” is not a cause of action for
which relief can be granted. Section 523(a)(6) of the Bankruptcy Code does provide “willful and
malicious injury by the debtor to another entity or to the property of another entity” as a basis for
an exception to discharge and courts addressing section 523(a)(6) have described willful and
malicious injury as akin to that of an intentional tort, which generally requires an intent to cause
the injury, not simply the act itself. 11 U.S.C. § 523(a)(6); see Kawaauhau v, Geiger, 523 U.S.

57, 61 (1998) (“§ 523(a)(6)’s formulation triggers in the lawyer’s mind the category of ‘intentional

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torts,’ which generally require that the actor intend the consequences of an act, not simply the act
itself.”); Webber v. Giarratano (In re Giarratano), 299 B.R. 328, 334 (Bankr. D. Del. 2003)
(stating that “willful and malicious” actions within Section 523(a)(6) refer to “actions [which]
were substantially certain to result in injury or where the debtor desired to cause injury”).
Exceptions to discharge are “strictly construed against creditors” and the moving party has the
burden to prove the elements of discharge by a “preponderance of evidence.” Jd.

17. As set forth above, Claimant does not offer any evidence that the Debtor desired
and intended to cause injury to Claimant. Furthermore, in accordance with local law and the
Debtor’s internal policies, and as set forth in the Healon Declaration, Claimant was not entitled to
split shift premiums and the Claimant was not entitled to commissions arising from sales of the
Club’s membership. See Healon Declaration J 5—6.

OBJECTION

I. THE HUDSON CLAIMS ARE UNENFORCEABLE AND MUST BE
DISALLOWED UNDER SECTION 502(B)(1) OF THE BANKRUPTCY CODE

18. The Reorganized Company objects to the allowance of the Hudson Claims. Under
Section 502(b)(1) of the Bankruptcy Code, a claim must be disallowed if it is unenforceable against
a debtor and property of the debtor under any agreement or applicable law. 11 U.S.C. § 502(b)(1).
Claimant has not provided any evidence in support of the Hudson Claims and the Reorganized
Company’s books and records support that Claimant does not have any enforceable claims against

the Debtor or its property.

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A. Split Shift Claim

19. | Under New York law, an employee is entitled to receive one additional hour of pay
at the minimum wage “for any day in which: (a) the spread of hours exceeds 10 hours; or (b) there
is split shift; or (c) both situations occur.” See Zhong v. Zijun Mo, 2012 U.S. Dist. LEXIS 99966,
at *16 (E.D.N.Y. July 18, 2012) (quoting N.Y. Comp. Codes R. & Regs tit. 12, §142-2.4). “Spread
of hours” is defined as “the interval between the beginning and end of an employee’s workday”
and includes “working time plus time off for meals plus intervals off duty.” N.Y. Comp. Codes R.
& Regs tit. 12, §142.2.18. “Split shift” is defined as ‘a schedule of daily hours in which the
working hours required or permitted are not consecutive. No meal period of one hour or less shall
be considered an interruption of consecutive hours.” Jd. §142.2.17.

20. Claimant did not qualify for additional wages under the definition of “spread of
hours” because Claimant’s spread of hours in one workday did not exceed ten hours. See Healon
Declaration § 6. Claimant’s work schedule was between 10:00 p.m. to 6:00 a.m. for a total of eight
hours. See id. Claimant also does not qualify for additional wages under the definition of “split
shift” because her working hours were consecutive and did not contain any interruption (e.g., meal
period) of more than one hour. Jd.

21. The Debtor’s split shift pay policy was in line with the local New York law and
Claimant was treated in accordance with the Debtor’s policy. See N.Y. Comp. Codes R. & Regs
tit. 12, §142.2.4, 17, 18 (defining eligibility for additional pay under spread of hours and split

shift). Therefore, the Split Shift Claim must be disallowed and expunged in its entirety.

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B. Sales Commission Claim

22. Pursuant to the Debtor’s internal compensation policy, Claimant was not entitled
to earn commission for sales of the Club’s membership. See Healon Declaration § 5. Commission
on sales of the Club’s memberships could only be earned by employees that served in positions
responsible for driving sales of the Club’s membership with targeted sales goals and metrics. See
id. Minimum thresholds with respect to working hours and sales numbers were also required to
be satisfied before an employee in a commissionable role was eligible to accrue commission. See
id, Claimant, in her role as a service representative, was not responsible for driving the sale of the
Club’s membership and was not eligible for any threshold target sales goals or metrics to achieve.
See id.

23. Claimant’s responsibilities as a service representative included working at the front
desk of the Club to facilitate the check-in process at the Club and to respond to any service-related
issues. See id. 44. While Claimant may have received minimal training to assist customers with
enrolling for the Club’s membership, Claimant did not serve in a commissionable role during her
employment with the Debtor. See id. 5. Even if Claimant was entitled commission as a service
representative (which Claimant is not), Claimant could not have satisfied the minimum sales
threshold given her role as a service representative. See id.

24. ‘Additionally, Claimant’s assertion of unpaid compensation within the Sales
Commission Claim for a lost workday due to a snowstorm is also unsupported by the evidence.
Pursuant to the Debtor’s disaster pay policy, an employee is entitled to the lost day of wages only
if the Club closes for a duration of more than one day. See id. § 7. Claimant states in the Sales
Commission Claim that she missed a single day of work on January 23, 2016. Accordingly,

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Claimant is not entitled to wages under the disaster pay policy and the Sales Commission Claim
is therefore unenforceable and must be disallowed and expunged in its entirety.

C. Discrimination Claim

20. The Discrimination Claim was filed after the General Bar Date and therefore must
be disallowed. See Bar Date Order at 2; see also In re New Century TRS Holdings, Inc., 465
B.R. 38, 46 (Bankr. D. Del. 2012) (explaining that bar date is a “drop-dead date” for creditors who
receive the required notice); Jn re Exide Techs., 601 B.R. 271, 293 (Bankr. D. Del. 2019)
(explaining the importance of adhering to a bar date in the administration of a bankruptcy case).
Nor can Claimant argue that she did not receive timely notice, as she timely filed the Split Shift
Claim and the Sales Commission Claim. (See also Affidavit of Service, Ex. F [24 Hour Fitness
Docket No. 861] (listing the Claimant as a party that received notice of the General Bar Date and
a copy of the Proof of Claim form).)

26. Even if the General Bar Date did not disallow the Discrimination Claim (and it
does), Claimant provides no evidence to support that the alleged discrimination occurred.
Claimant writes in support of her Discrimination Claim that she was denied commission for sales
of the Club’s membership and split shift wages, which were both motivated by discriminatory
reasons. It was not. As set forth above, Claimant was not denied sales commission; rather,
Claimant was never entitled to a sales commission. Further, Claimant was not entitled to split shift
wages pursuant to local laws and internal policies of the Debtor, which were formulated in

compliance with local laws. See Healon Declaration { 6.

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27. Claimant provides no other evidence of mistreatment or discrimination other than
by identifying personal characteristics and stating that she worked with other employees that did
not share the same characteristics. See Discrimination Claim. These assertions are not evidence
supporting the Discrimination Claim. See Ruiz v. County of Rockland, 609 F.3d 486, 492 (2d Cir.
2010) (holding that bringing a discrimination claim under Title VII of the Civil Rights Act of 1964
requires the plaintiff to first establish a prima facie case of discrimination showing that (i) plaintiff
is a member of a protected class, (ii) plaintiff was qualified for the position she held, (iii) plaintiff
suffered an adverse employment action, and (iv) the adverse action took place under circumstances
giving rise to the inference of discrimination). Nor does the screenshot of a Google search stating
an unverified number of employment cases have been filed against the Debtor, attached as an
exhibit to the Discrimination Claim, provide any evidence in support of the Discrimination Claim.
The Discrimination Claim is nothing more than a conclusory assertion and must be disallowed and
expunged in its entirety.

RESERVATION OF RIGHTS
28. The Reorganized Company reserves the right to amend, modify or supplement this

Objection and to file additional objections to the Motion or to the Hudson Claims.

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CONCLUSION

29. WHEREFORE, the Reorganized Company respectfully requests that the Court
sustain this Objection and enter an order denying the Motion and disallowing and expunging, in

their entirety, the Hudson Claims.

Dated: August 21, 2023 PACHULSKI STANG ZIEHL & JONES LLP
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